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        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                       No. 22-1733

                                    Zachary Greenberg

                                             v.

                                  Jerry M. Lehocky, et al

                              (E.D. Pa. No. 2-20-cv-03822)

Present: CHAGARES, Chief Judge, SCIRICA and AMBRO, Circuit Judges

       1. MOTION filed by Amicus Appellants Allegheny County Bar Association,
          Interbranch Commission for Racial Gender and Ethnic Fairness, Pennsylvania
          Bar Association, Philadelphia Bar Association and Appellant Jerry M.
          Lehocky to Amend Opinion,



                                                            Respectfully,
                                                            Clerk/amr

_________________________________ORDER________________________________
The foregoing motion to amend the opinion is granted. The Clerk is directed to file the
amended opinion to include the amicus parties and amicus counsel Thomas G. Wilkinson
and re-file the opinion on the docket as of the original file date. As the change to the
opinion is of clerical nature, the judgment is not affected and remains as originally filed.


                                                            By the Court,

                                                            s/Anthony J. Scirica
                                                            Circuit Judge

Dated: September 22, 2023
CJG/cc:      All Counsel of Record
